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       ATTACHMENT A
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 1   Francis O. Scarpulla (41059)                            Joseph M. Alioto (42680)
     Craig C. Corbitt (83251)                                Theresa D. Moore (99978)
 2   Judith A. Zahid (215418)                                ALIOTO LAW FIRM
     Patrick B. Clayton (240191)                             One Sansome Street, 35th Floor
 3   Qianwei Fu (242669)                                     San Francisco, CA 94104
     Heather T. Rankie (268002)                              Telephone: (415) 434-8900
 4   ZELLE HOFMANN VOELBEL & MASON LLP                       Facsimile: (415) 434-9200
     44 Montgomery Street, Suite 3400                        jmalioto@aliotolaw.com
 5   San Francisco, CA 94104
     Telephone: (415) 693-0700
 6   Facsimile: (415) 693-0770
     fscarpulla@zelle.com
 7

 8   Co-Lead Class Counsel for Indirect-Purchaser Plaintiffs

 9   [Additional counsel listed on signature pages]

10                               UNITED STATES DISTRICT COURT
11                            NORTHERN DISTRICT OF CALIFORNIA
12                                   SAN FRANCISCO DIVISION
13   IN RE TFT-LCD (FLAT PANEL)                       Case No. 3:07-md-1827 SI
     ANTITRUST LITIGATION
14                                                    CLASS ACTION
15   This Document Relates to:                        INDIRECT-PURCHASER PLAINTIFFS’ AND
                                                      SETTLING STATES’ JOINT NOTICE OF
16   Indirect-Purchaser Class Action;                 MOTION AND MOTION TO APPOINT FUND
                                                      ADMINISTRATOR AND DISTRIBUTE
17   State of Missouri, et al. v. AU Optronics        SETTLEMENT FUND TO
     Corporation, et al.,                             (1) APPROVED CLASS CLAIMANTS;
18   Case No. 10-cv-03619-SI;                         (2) THE SETTLING STATES’ PROPRIETARY
                                                      CLAIMANTS;
19   State of Florida v. AU Optronics                 (3) THE NAMED PLAINTIFFS/CLASS
     Corporation, et al.,                             REPRESENTATIVES FOR INCENTIVE
20   Case No. 10-cv-3517 SI; and                      AWARDS;
                                                      (4) COUNSEL FOR SETTLING STATES AS
21   State of New York v. AU Optronics                ATTORNEYS’ FEES; AND
     Corporation, et al.,                             (5) CLASS COUNSEL AS ATTORNEYS’ FEES
22   Case No. 11-cv-0711-SI.
                                                      Hearing Date: October 17, 2014
23                                                    Time: 9:00 a.m.
                                                      Courtroom: 10, 19th Floor
24                                                    Judge: Honorable Susan Illston

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         INDIRECT-PURCHASER PLAINTIFFS’ AND SETTLING STATES’ JOINT NOTICE OF MOTION AND
             MOTION TO APPOINT FUND ADMINISTRATOR AND DISTRIBUTE SETTLEMENT FUND
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 1                                NOTICE OF MOTION AND MOTION
 2   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 3          PLEASE TAKE NOTICE that on October 17, 2014, at 9:00 a.m. or as soon thereafter as
 4   the matter can be heard before the Honorable Susan Illston of the United States District Court for

 5   the Northern District of California, located at 455 Golden Gate Avenue, San Francisco, California,

 6   94102, Class Counsel for the Indirect-Purchaser Plaintiffs and the Attorneys General of the States

 7   of Arkansas, California, Florida, Michigan, Missouri, New York, West Virginia, and Wisconsin,

 8   will, and hereby do, jointly move the Court for an order appointing Rust Consulting, Inc. (“Rust”)

 9   as the Fund Administrator, and authorizing distribution from the Settlement Fund in accordance

10   with the Court’s previous orders.

11          This motion is based on this Notice, the accompanying Memorandum of Points and

12   Authorities, the Declaration of Robin M. Niemiec of Rust, and any arguments and evidence that

13   may be presented at any hearing before this Court on this motion, all transcripts of prior

14   proceedings before this Court, and on all other pleadings and papers on file in this action.

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         INDIRECT-PURCHASER PLAINTIFFS’ AND SETTLING STATES’ JOINT NOTICE OF MOTION AND
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 1                            MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.      INTRODUCTION
 3           These actions have been settled with each of the defendants, under settlement agreements

 4   that provide for injunctive relief and payments totaling $1.082 billion (the “Settlement Fund”).

 5   The Court approved the settlements, the plan of distribution, attorneys’ fees and expenses to both

 6   Class Counsel and counsel for the Settling States, as well as incentive awards to the named

 7   plaintiffs/class representatives. All appeals have been dismissed. The Indirect-Purchaser Plaintiffs

 8   (“IPPs”), through Co-Lead Class Counsel, and the States of Arkansas, California, Florida,

 9   Michigan, Missouri, New York, West Virginia and Wisconsin (“Settling States”), through their

10   respective Attorneys General, now jointly move this Court for an order appointing Rust

11   Consulting, Inc. (“Rust”) as the Fund Administrator and authorizing distribution of the Net

12   Settlement Fund (i.e., the Settlement Fund less all costs and expenses plus any amount reserved to

13   pay future costs, taxes, fees, and other necessary expenses) to claimants, to Class Counsel, to the

14   Settling States, to Settling States’ counsel, and to the IPP class representatives, all in accordance

15   with the Court’s prior orders.

16           As explained below, Rust, the Court-appointed Claims Administrator (and proposed Fund

17   Administrator), has processed approximately 233,000 valid claims for purchases of more than 16

18   million computer monitors, laptop computers, and TVs containing LCD panels. See Declaration of

19   Robin M. Niemiec of Rust, Notice and Claims Administrator, In Support of IPP Mot. To Authorize

20   Distribution of Settlement Fund (“Niemiec Decl.”), filed herewith. Under the plan of distribution,

21   subject to Court approval, claimants will receive a pro rata payment from the Net Settlement fund.

22           The Court’s previous rulings on attorneys’ fees, expenses, and incentive awards provide the

23   amounts to be paid to Class Counsel, the Settling States, and the IPP class representatives. This

24   motion seeks to appoint Rust as the Fund Administrator and to authorize it to make such payments

25   from the Settlement Fund, and to distribute the remainder to approved claimants, less any amount

26   needed to pay future costs, expenses, fees and other necessary obligations. After this distribution,

27   the only remaining task will be to dispose of residual and/or unclaimed funds, if any, by way of a

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 1   second distribution (if sufficient residual funds exist to do so) or through distributions to

 2   appropriate Court-approved charitable organizations.1 This motion is a significant step toward

 3   concluding all proceedings in these actions. Thus, the IPPs and Settling States respectfully request

 4   that the Court grant this motion.

 5   II.      BACKGROUND2
 6            A.     The Court’s Previous Rulings
 7            On April 3, 2013, the Court granted final approval to settlements with the last three
 8   defendant groups and entered final judgment in the IPP action and the Settling States’ actions.3 In
 9   combination with the previously-approved settlements with all other defendants,4 the settlements

10   provide for cash payments by the defendants totaling $1.082 billion, plus injunctive relief.5 The

11   Court authorized a comprehensive, nationwide notice program,6 and approved the plan of
12   distribution.7 The Court also ruled on the IPPs’ and Settling States’ motions for attorneys’ fees,
13   expenses, and IPP class representative incentive awards.8
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             In the event any residual funds are available for distribution to charitable organizations,
18   Class Counsel and Settling States’ counsel shall file a motion with the Court identifying each
     such organization and stating why each is a proper recipient of a portion of the residual funds.
19   2
             The Court has presided over these actions alleging violations of antitrust and consumer
     protection laws by manufacturers of TFT-LCD panels since the indirect-purchaser class actions
20   were transferred to this Court by the Judicial Panel on Multidistrict Litigation in 2007. The IPPs
     and Settling States recounted the history of these proceedings in previous filings (see, e.g., IPP
21   Mot. for Attorneys’ Fees (Dkt. 6662); Settling States’ Mot. for Attorneys’ Fees (Dkt. 6650)), and
     therefore provide here only the background relevant to this motion.
22
     3
            See Second Am. Order Granting Final Approval; Ordering Final Judgment; Award of
23   Attorneys’ Fees (Dkt. 7697); Order Granting Final Approval; Final Judgment of Dismissal (Dkt.
     6130).
24   4
            See Order Granting Final Approval (Dkt. 6130), entered July 11, 2012.
     5
25          Second Am. Order Granting Final Approval (Dkt. 7697) at pp. 4 – 6.
     6
            Order Granting Preliminary Approval (Dkt. 6311).
26
     7
              Second Am. Order Granting Final Approval (Dkt. 7697).
27   8
              Id.
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           INDIRECT-PURCHASER PLAINTIFFS’ AND SETTLING STATES’ JOINT NOTICE OF MOTION AND
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 1                  1.      Plan of Distribution To IPP Class Member Claimants and
 2                          Governmental Entities within the Settling States
 3          Under the plan of distribution, natural-person and business-entity end-user/consumers in
 4   the 24 so-called Illinois-Brick repealer states, as well as those located in the District of Columbia,

 5   were eligible to submit claims to the Claims Administrator through a dedicated website

 6   (www.LCDclass.com) and by mail, for purchases of computer monitors, laptop computers, and

 7   TVs bought between 1999 and 2006. All claimants with valid claims are eligible to receive a pro

 8   rata distribution of that portion of the Net Settlement Fund allocated to the end-user/consumer

 9   class members, with TVs counting for twice the proportional weight of computer monitors and

10   laptop computers, to account for the generally larger and more expensive panels used in TVs.9

11          Although governmental entities in the Settling States were not eligible to file claims with
12   the Claims Administrator, under the terms of the Settlement Agreements, the Settling States
13   receive a portion of the Net Settlement Fund (set by formula in the settlements, and equal to
14   approximately 4.6% of the Net Settlement Fund10) to compensate such entities for their purchases
15   of LCD products.
16                  2.      Claim-Filing Deadline
17          The Court set an initial claim-filing deadline of December 6, 2012.11 The Claims
18   Administrator continued to accept claims for processing after that date, but explicitly stated on the
19   settlement website that there was no guarantee such “late” claims would be paid. Class Counsel

20   advised the Court of the status of claims processing in January 2013, and recommended the

21

22   9
             The plan of distribution included potential minimum- and maximum-recovery limitations,
     but the number of “panel equivalents” submitted did not cause these provisions to be triggered.
23   See Jt. Mot. for Final Approval (Dkt. 7158) at pp. 10 – 12.
     10
24           The Governmental Purchaser Set-Aside Amount is computed by taking 7% of the Net
     Settlement Fund, then multiplying that amount by the fraction of the average gross domestic
25   product of the Settling States during the class period, over the average gross domestic product
     during the same period of the IPP Statewide Damages Classes (24 states plus the District of
26   Columbia), which fraction is 0.664953. See, e.g., LG Display Settlement Agreement (Dkt. 6141-
     3) at ¶ 32(e).
27   11
             Order Setting Claim-Filing Deadline (Dkt. 6335).
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         INDIRECT-PURCHASER PLAINTIFFS’ AND SETTLING STATES’ JOINT NOTICE OF MOTION AND
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 1   acceptance of late-filed claims. See IPP Summary of Status of Claims Processing (Dkt. 7572). In

 2   its subsequent order granting final approval, the Court noted that “IPP counsel recommend that

 3   late-filed claims be included in distribution payments, and this Court agrees.” Second Am. Order

 4   Granting Final Approval (Dkt. 7697) at p. 6, n. 4.

 5           On May 30, 2014, in preparation for distribution to claimants, Class Counsel and Settling

 6   States’ counsel directed Rust to revise the settlement website homepage to state that “[t]he

 7   deadline to file a claim was December 6, 2012, and has now passed. Counsel intend to

 8   recommend that the Court accept late claims submitted after December 6, 2012 until June 6, 2014,

 9   but not allow late claims submitted after June 6, 2014.” See Neimiec Decl. at ¶ 6.

10                  3.     Attorneys’ Fees, Expenses, and Incentive Awards
11                         a.      Attorneys’ Fees
12           The Court awarded Class Counsel attorneys’ fees totaling $309,725,250, which represents

13   28.6% of the Settlement Fund.12 The Court awarded the Attorneys General attorneys’ fees totaling

14   $11,054,191.01, which represents about 1% of the Settlement Fund.13 Thus, the total amount of all
15   attorneys’ fees is $320,779,441.01.
16                         b.      Expenses
17           The Court awarded Class Counsel a total of $8,928,849.73 to reimburse their common
18   litigation expenses;14 the Court awarded the Attorneys General $1,206.479.48 in costs.15 Thus, the
19   total amount of all expenses is $10,135,329.21.

20                         c.      Incentive Awards
21           In the Second Amended Order Granting Final Approval (Dkt. 7697), the Court awarded

22   incentive payments of $15,000 each to 40 IPP class representatives and $7,500 each to eight IPP

23

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     12
            Second Am. Order Granting Final Approval (Dkt. 7697) at p. 30, ¶ 17.
25   13
            Id.
     14
26          The Court made two separate awards of expenses to counsel for the IPPs: $8,736,131.43
     (Dkt. 7697, Apr. 3, 2013), and $192,718.30 (Dkt. 9185, Aug. 18, 2014).
27   15
             Second Am. Order Granting Final Approval (Dkt. 7697) at p. 30, ¶ 17.
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 1   non-class representatives who were deposed. However, upon review of the Court’s prior orders

 2   appointing class representatives, Class Counsel have identified 39 appointed class representatives

 3   and nine non-class representative plaintiffs who were deposed. Class Counsel thus request that the

 4   Court order that these 39 class representatives receive their $15,000 awards, and that the nine

 5   deposed class members receive their $7,500 awards, for a total incentive award of $652,500.16

 6           B.     The Settlement Fund
 7           The Settlement Fund consists of the settlement payments made by the defendants totaling

 8   $1,082,055,647, and held by the Escrow Agent, Wells Fargo Bank, N.A. (“Wells Fargo”), pursuant

 9   to the settlement agreements granted final approval by the Court.17 The funds have been invested

10   in instruments backed by the full-faith-and-credit of the United States (i.e., in T-Bills and T-

11   Notes). Court-approved payments to the Settlement Notice and Claims Administrator, Rust

12   (including its sister company Kinsella Media, Inc.), have been disbursed from the Settlement

13   Fund,18 as have all costs of escrow administration, and the payment of all taxes on the earned

14   interest income (as provided in the settlement agreements).19 In addition, as provided under the
15   terms of the settlements,20 some Class Counsel have availed themselves of so-called “quick-pay”
16   provisions allowing them to receive their Court-awarded expenses (as opposed to fees) upon the
17   pledge of adequate security.
18           The Settlement Fund principal balance as of September 18, 2014 (the date upon which its
19   Treasury-backed securities mature) is estimated at $1,063,851,450.89, which amount, plus any

20

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     16
             The 39 named IPP class representatives are identified in the Court’s orders dated Mar. 28,
22   2010 (Dkt. 1642); July 28, 2011 (Dkt. 3198); and Jan. 26, 2012 (Dkt. 4688); the additional
     plaintiffs are identified in the IPPs’ Mot. for Attys Fees and Incentive Awards (Dkt. 6662), dated
23   Sept. 7, 2012.
     17
24           See, e.g., LG Display Settlement Agreement (Dkt. 6141-3) at ¶ 32 (a).
     18
             See Niemiec Decl. at ¶ 31 (“Rust has invoiced a total of $8,878,322.26 in notice and
25   administration services, $6,373,282.08 by Kinsella Media and $2,505,040.18 by Rust
     Consulting.”).
26
     19
             See, e.g., LG Display Settlement Agreement (Dkt. 6141-3), at ¶ 32(i).
27   20
             Id. at ¶ 35(b).
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 1   earned interest, will be reinvested with a maturity date of October 18, 2014, to coincide with the

 2   noticed hearing date of this motion.

 3              C.     Claims Processing
 4                     1.      Total Number of Claimants
 5              Through June 6, 2014, Rust received and processed 233,944 online claims and 15,597

 6   paper claims, for a total of 249,541 claims. Niemiec Decl. at ¶ 7. Rust received an additional 92

 7   claims between June 6 and September 9, 2014. Id. at ¶ 27. Following Rust’s auditing process

 8   (described in the Niemiec Decl. at ¶¶ 25 – 28), a total of 233,473 claims were deemed eligible. Id.

 9   at ¶ 12.

10                     2.      Total Number of LCD Products Purchased By Claimants
11              The total number of panel equivalents (where TVs receive twice the weight of computer

12   monitors and laptop computers) is 16,212,038. Id. at ¶ 26.

13                     3.      Payment Amounts To Claimants
14              To compute the payment amounts to each claimant under the plan of distribution, two

15   figures are needed: (1) the amount available for distribution (after deducting Court-approved

16   disbursements for settlement notice, claims administration, attorneys’ fees, expenses, and incentive

17   awards, and other financial obligations, both current and future; and after deducting the amount set

18   aside for governmental entity claims of the Settling States as provided in the settlements), plus the

19   pro rata share of the earned interest; and (2) the number of LCD products purchased by claimants,

20   keeping in mind that TVs are to be weighted at twice the value of monitors and laptop computers

21   under the pro rata distribution.

22              At this time it is expected that claimants will receive about $45 per computer monitor and

23   laptop computer, and twice that amount per TV. Before the noticed hearing date of this motion,

24   Class Counsel and the Settling States’ counsel intend to provide the Court with a final calculation

25   of the per-panel payment amount, which will reflect the precise balance of the Settlement Fund

26   following maturity of its Treasury-backed securities.

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 1   III.      ARGUMENT
 2             A.     All Valid Claims Filed By June 6, 2014 Should Be Paid According To The Plan
 3                    of Distribution
 4             Class Counsel and Settling States’ counsel respectfully recommend that the Court authorize
 5   payments to all class members whose claims were filed by June 6, 2014 and were deemed by Rust

 6   as being valid, in the interest of maximizing the participation of class members in the settlements.

 7   The Court has inherent discretion to allow or disallow “late filed” claims. See In re Gypsum

 8   Antitrust Cases, 565 F.2d 1123, 1128 (9th Cir. 1977) (district court has discretion with respect to

 9   the disallowance of late claims); Welch & Forbes Inc. v. Cendant Corp. (In re Cendant Corp.

10   Prides Litig.), 233 F.3d 188, 194-197 (3rd Cir. 2000) (until the fund created by settlement is
11   actually distributed, the court retains its traditional equity powers to protect unnamed but interested
12   persons; a court may assert this power to allow late-filed claims); In re Elec. Carbon Prods.
13   Antitrust Litig., 622 F. Supp. 2d 144, 155 (D.N.J. 2007) (permitting late claimants to share in
14   settlement proceeds even though doing so reduced recovery of another claimant by 16.6%, or over
15   $1.6 million). The Court should exercise this discretion here and permit all class members that
16   submitted valid claims by June 6, 2014 to receive payment on their claims.
17             The distribution has not been delayed as a result of any late-filed claims. Moreover, those
18   claimants, like all other claimants, have been injured as a result of the same alleged wrongful
19   conduct. Some of the claimants reside in the same states as the AGs asserting parens patriae

20   claims. Additionally, because all claimants are similarly situated, none of them has a better right

21   to recover than any other claimant; in other words, because no distribution delay has been

22   occasioned by the processing of those claims, the first-filed claim is no more entitled to recover or

23   to recover more per unit than the last claim received and processed before the distribution motion

24   is filed.

25             The whole point of these actions was to compensate as many injured claimants as possible.

26   Class Counsel have already recommended, and the Court indicated its agreement, that claims

27   submitted after the December 6, 2012 claims deadline be included in the distribution. (See Apr. 3,

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 1   2013 Order, Dkt. No. 7697, at 6 n.4.). The initially-contemplated minimum recovery per unit was

 2   $25; even with the inclusion of late-filed claims, claimants will still recover substantially more

 3   than that minimum (i.e., about $45 per panel).21

 4           B.     The Settling States’ Proprietary Claims Should Be Paid
 5           As part of the settlement negotiations, the Settling States also settled their proprietary

 6   claims – i.e. governmental purchases of LCDs – according to a formula contained in each

 7   settlement and described in footnote 10, supra. This amount, plus a pro rata share of the accrued

 8   interest, should be ordered paid to the Settling States for governmental purchaser damages as set

 9   forth in Exhibit B to the proposed order filed herewith.

10           C.     The Attorneys General Should Be Paid Their Awarded Attorneys’ Fees
11           This Court awarded the Attorneys General attorneys’ fees in the amount of $11,054,191,

12   which should be ordered paid, including a pro rata share of the earned interested, as set forth in

13   Exhibit B to the proposed order filed herewith.

14           D.     Class Counsel Should Be Paid Their Awarded Fees
15           On April 3, 2013, this Court awarded Class Counsel fees totaling $309,725,250; that

16   judgment is now final and the fees should be ordered paid to each firm. Some of the firms have

17   expressed an interest in receiving their total fee award in periodic payments, rather than in a lump

18   sum. Rust, the fund administrator, is willing to enter into agreements with the attorneys and third

19   parties to provide for periodic payment of fee awards if this Court enters an Order that permits

20   Rust to do so, and if the Order provides that the Fund Administrator shall be held harmless and

21   indemnified by the attorneys with whom the Fund Administrator enters into such agreements.

22           Certain firms “factored” their fees during the pendency of this litigation and liens were

23   filed. These liens should be paid directly to the lien holders.

24

25   21
             Any claimants who filed after June 6, 2014 may move the Court for authorization to pay
     such late claims. See Mot. for Order Approving Distribution of Settlement Funds to the Direct
26   Purchaser Class Members (Dkt. 8018) at p. 7 (“Those who filed Late Claims . . . should petition
     the Court for an allowance of their late claim within 30 days of the order approving
27   distribution.”).
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          INDIRECT-PURCHASER PLAINTIFFS’ AND SETTLING STATES’ JOINT NOTICE OF MOTION AND
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 1          Moreover, because Class Counsel are obligated to pay certain costs and expenses from

 2   their fee awards, they request this Court to permit Co-Lead Class Counsel to instruct Rust to hold

 3   back an amount from the IPP fee award to pay those obligations. On August 8, 2014, Co-Lead

 4   Counsel informed all Class Counsel of the intent to withhold from each firm’s fee award a pro rata

 5   share to pay the outstanding costs and expenses; to date, none has objected. Additionally, the

 6   Court previously ordered certain hold-backs from fees awarded to certain counsel and those

 7   amounts should be held back by Rust pending further order from the Court.

 8          E.      Incentive Awards
 9          Incentive awards as previously ordered by this Court should be paid by Rust in the form of

10   checks to the IPP class representatives, and sent to their respective counsel for delivery.

11          F.      The Interest Income Should Be Allocated Proportionally
12          The Settlement Fund has earned interest income. Class Counsel and Settling States’

13   counsel respectfully recommend that the Court allocate that interest proportionally to claimants,

14   Class Counsel and the Attorneys General fee funds, and to the Settling States’ proprietary claims.

15   The courts in this District have long recognized the propriety of including any interest that is

16   earned upon a fee award before it is distributed. See In re Oracle Sec. Litig., 852 F. Supp. 1437,

17   1458 (N.D. Cal. 1994) (“As contingent fee lawyers, class counsel are in every sense part-owners of

18   the litigation claims in suit and entitled to the interest accruing on that portion of the claims in

19   which they hold an ownership or equity interest.”); In re Clearly Canadian Sec. Litig., No. C-93-

20   1037, 1999 WL 707737 at *6 (N.D. Cal. Sept. 3, 1999) (same).

21          G.      The Court Should Order A Reasonable Hold-Back For Future Settlement
22                  Administration Expenses And Other Financial Obligations
23          If this motion is granted, Rust will administer the distribution of the Net Settlement Fund.

24   In addition to the cost of mailing checks, the Claims Administrator anticipates (based on previous

25   experience) that there will be a significant level of inquiries made by claimants regarding the

26   distribution (e.g., questions about the amounts received in a check, issues with changes of address,

27   etc.). Any claimant inquiries will continue to be handled through the Settlement Administrator’s

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 1   website and/or call center. To cover the costs associated with processing the distribution and

 2   providing support to claimants, Class Counsel and the Settling States respectfully suggest that the

 3   Court order that $360,000 be held in reserve to cover future settlement-related expenses. See

 4   Neimiec Decl. at ¶ 31.

 5            H.     The Court Should Order the Escrow Agent, Wells Fargo Bank, N.A., to
 6                   Transfer the Entire Settlement Fund to Rust Consulting, Inc.
 7            In order for Rust to process the payments described herein, Wells Fargo must be ordered to

 8   transfer all funds related to the Escrow Accounts, including all accrued interest, in both the

 9   treasuries and the money market fund to the account established for the Qualified Settlement Fund

10   (“QSF”) at Huntington Bank, N.A. and administered by Rust. Wells Fargo also must transfer to

11   Rust the “administrator” role in accordance with Section 468B of the Internal Revenue Code (26

12   U.S.C. § 468B) for the QSF, as outlined in Para. 7(c) of the Escrow Agreement. Wells Fargo has

13   agreed to cooperate with Rust, Class Counsel, and Settling States’ counsel in this transition.

14            Rust will not distribute, withdraw, or transfer any funds from any of the QSF accounts at

15   Huntington Bank without written authorization (“Distribution Notice”) from at least two of the

16   following counsel: Francis O. Scarpulla, Zelle Hofmann Voelbel & Mason LLP; Joseph M. Alioto,

17   The Alioto Law Firm; Lizabeth A. Brady, Office of the Attorney General of Florida. Such a

18   provision is included in the proposed order filed herewith.

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 1   IV.      CONCLUSION
 2            For the foregoing reasons, the IPPs and Settling States respectfully request that the Court

 3   authorize distribution of the Settlement Fund in accordance with the proposed order filed herewith,

 4   and subject to lodging an amended proposed order prior to the noticed hearing date of this motion.

 5

 6   Dated: September 12, 2014                     Respectfully submitted,

 7                                                 ZELLE HOFMANN VOELBEL & MASON LLP

 8                                                 By: /s/ Francis O. Scarpulla
                                                           Francis O. Scarpulla
 9
                                                   Francis O. Scarpulla (41059)
10                                                 Craig C. Corbitt (83251)
                                                   Judith A. Zahid (215418)
11                                                 Patrick B. Clayton (240191)
                                                   Qianwei Fu (242669)
12                                                 Heather T. Rankie (268002)
                                                   ZELLE HOFMANN VOELBEL & MASON LLP
13                                                 44 Montgomery Street, Suite 3400
                                                   San Francisco, CA 94104
14                                                 Telephone: (415) 693-0700
                                                   Facsimile: (415) 693-0770
15                                                 fscarpulla@zelle.com

16                                                 ALIOTO LAW FIRM

17                                                 By: /s/ Joseph M. Alioto
                                                           Joseph M. Alioto
18
                                                   Joseph M. Alioto (42680)
19                                                 Theresa D. Moore (99978)
                                                   ALIOTO LAW FIRM
20                                                 One Sansome Street, 35th Floor
                                                   San Francisco, CA 94104
21                                                 Telephone: (415) 434-8900
                                                   Facsimile: (415) 434-9200
22                                                 jmalioto@aliotolaw.com

23                                                 Co-Lead Class Counsel for Indirect-Purchaser
                                                   Plaintiffs
24

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 1                                      MINAMI TAMAKI LLP

 2                                      By: /s/ Jack W. Lee
                                                Jack W. Lee
 3
                                        Jack W. Lee (71626)
 4                                      MINAMI TAMAKI LLP
                                        360 Post Street, 8th Floor
 5                                      San Francisco, CA 94108
                                        Telephone: (415) 788-9000
 6                                      Facsimile: (415) 398-3887
                                        jlee@minamitamaki.com
 7
                                        Liaison Counsel for Indirect-Purchaser Plaintiffs
 8
                                        PAMELA JO BONDI
 9                                      Attorney General of the State of Florida

10                                      By: /s/ Lizabeth A. Brady
                                        Patricia A. Conners
11                                      Associate Deputy Attorney General
                                        Antitrust Division
12                                      Lizabeth A. Brady
                                        Chief, Multistate Antitrust Enforcement
13                                      Nicholas J. Weilhammer
                                        Assistant Attorney General
14                                      PL-01, The Capitol
                                        Tallahassee, FL 32399-1050
15
                                        Counsel for Plaintiff State of Florida
16
                                        CHRIS KOSTER
17                                      Attorney General of the State of Missouri
18                                      By: /s/ Anne E. Schneider
                                        Anne E. Schneider
19                                      Assistant Attorneys General/Antitrust Counsel
                                        Missouri Attorney General’s Office
20                                      P.O. Box 899
                                        Jefferson City, MO 65102
21
                                        Counsel for Plaintiff State of Missouri
22
                                        DUSTIN MCDANIEL
23                                      Attorney General of the State of Arkansas

24                                      By: /s/ Kevin Wells
                                        Kevin Wells
25                                      Assistant Attorney General
                                        Arkansas Attorney General’s Office
26                                      323 Center St., Suite 500
                                        Little Rock, AR 72205
27
                                        Counsel for Plaintiff State of Arkansas
28
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 1                                      KAMALA D. HARRIS
                                        Attorney General of the State of California
 2
                                        By: /s/ Nicole S. Gordon
 3                                      Nicole S. Gordon
                                        Deputy Attorney General
 4                                      Office of the Attorney General
                                        455 Golden Gate Avenue, Suite 11000
 5                                      San Francisco, CA 94102-3664

 6                                      Counsel for Plaintiff State of California

 7                                      BILL SCHUETTE
                                        Attorney General of the State of Michigan
 8
                                        By: /s/ M. Elizabeth Lippitt
 9                                      M. Elizabeth Lippitt
                                        Assistant Attorney General
10                                      Corporate Oversight Division
                                        Antitrust Section
11                                      G. Mennen Williams Building, 6th Floor
                                        525 W. Ottawa Street
12                                      Lansing, MI 48933

13                                      Counsel for Plaintiff State of Michigan

14                                      ERIC T. SCHNEIDERMAN
                                        Attorney General of the State of New York
15
                                        By: /s/ Jeremy R. Kasha
16                                      Jeremy R. Kasha
                                        Assistant Attorney General
17                                      Antitrust Bureau
                                        Office of the Attorney General
18                                      State of New York
                                        120 Broadway, 26th Floor
19                                      New York, NY 10271

20                                      Counsel for Plaintiff State of New York

21                                      PATRICK MORRISEY
                                        Attorney General of the State of West Virginia
22
                                        By: /s/ Douglas L. Davis
23                                      Douglas L. Davis
                                        Assistant Attorney General
24                                      P.O. Box 1789
                                        Charleston, WV 25326
25
                                        Counsel for the State of West Virginia
26

27

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 1                                               J.B. VAN HOLLEN
                                                 Attorney General of the State of Wisconsin
 2
                                                 By: /s/ Gwendolyn J. Cooley
 3                                               Gwendolyn J. Cooley
                                                 Assistant Attorney General
 4                                               P.O. Box 7857
                                                 17 W. Main St.
 5                                               Madison, WI 53707-7857

 6                                               Counsel for the State of Wisconsin

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 8                                            ATTESTATION
 9          Pursuant to General Order No. 45, § X(B), regarding signatures, I attest that I have

10   obtained the concurrence in the filing of this document from all signatories.

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12   Dated: September 12, 2014                                    /s/ Francis O. Scarpulla
                                                                  Francis O. Scarpulla
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